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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:05CR3025
                                     )
           v.                        )
                                     )
SOKHA KEO,                           )                   ORDER
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     1. The defendant’s unopposed motion to continue the
plea hearing, filing 146, is granted. The change of plea hearing
is continued from March 3, 2006 to April 4, 2006 at 4:00 p.m.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


     DATED this 23rd day of February, 2006.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
